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     Fax: (805) 546-8489
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 5   Attorney for Plaintiff Mario Melendez
 6
 7
 8                              UNITED STATES BANKRUPTCY COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10                                        NORTHERN DIVISION
11
12   In re:                                          )   Case No.: 9:19-bk-12053-MB
                                                     )
13            Donald Eugene McHaney and              )   Chapter 7
                                                     )
14            Betty Louise McHaney,                  )
                                                     )   Adv. No. __________
15                                  Debtors.         )
                                                     )
16            Mario Melendez,                        )
                                                     )   COMPLAINT OBJECTING TO
17                                  Plaintiff,       )   DISCHARGE PURSUANT TO 11 U.S.C.
                                                     )   SECTION 523(a)(2)
18                   v.                              )
                                                     )
19            Donald Eugene McHaney,                 )
                                                     )
20                                  Defendant.       )
                                                     )
21                                                   )
22
23
24            Mario Melendez (“Plaintiff”), by and through his undersigned attorney, files this
25   complaint pursuant to Rule 7001 of the Federal Rules of Bankruptcy Procedure in the matter of
26   Donald Eugene McHaney and Betty Louise McHaney, Bankruptcy Case No. 9:19-bk-12053-
27   MB, to determine the dischargeability of a debt owing to Plaintiff and alleges as follows:
28   ///



                 COMPLAINT OBJECTING TO DISCHARGE PURSUANT TO 11 U.S.C. SECTION 523(a)(2) - 1
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 1                                                   I
 2                                   JURISDICTION AND VENUE
 3          1.       This is an adversary proceeding brought pursuant to Bankruptcy Rule 7001.
 4          2.       This court has jurisdiction over the claims raised in this adversary proceeding
 5   pursuant to 28 U.S.C. Sections 1334 and 157.
 6          3.       This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2) such that the
 7   court may enter a final order consistent with Article III of the United States Constitution.
 8   Pursuant to Rule 7008 of the Local Rules of Bankruptcy Practice and Procedure of the United
 9   States Bankruptcy Court for the Central District of California, Plaintiff consents to the entry of
10   a final order by the court in connection with this complaint to the extent it is later determined
11   that the court, absent consent of the parties, cannot enter final orders or judgments in
12   connection herewith consistent with Article III of the United States Constitution.
13          4.       Venue is proper for this court pursuant to 28 U.S.C. Sections 1408 and 1409.
14                                                   II
15                                           THE PARTIES
16          5.       Plaintiff is an individual residing in the County of Santa Barbara, State of
17   California, and a creditor of the Debtor Donald Eugene McHaney (“Defendant”).
18          6.       Defendant is an individual and is a debtor in the above-entitled Chapter 7
19   Bankruptcy case, having filed his voluntary Chapter 13 Petition on December 13, 2019, and
20   converting the case to Chapter 7 on February 26, 2020.
21                                                  III
22                     PERTINENT FACTUAL AND LEGAL ALLEGATIONS
23          7.       On or about May 8, 2015, Plaintiff and Defendant entered into a written contract
24   wherein Defendant sold to Plaintiff for the sum of $110,000 the real property situated in the
25   County of Santa Barbara, State of California, commonly known as 2033 Thornburg Street,
26   Santa Maria, California (the “Property”).
27          8.       The Property was and is a one-half acre vacant lot, zoned multi-family, located
28   in the City of Santa Maria.



                 COMPLAINT OBJECTING TO DISCHARGE PURSUANT TO 11 U.S.C. SECTION 523(a)(2) - 2
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 1          9.        Plaintiff paid Defendant the $110,000 purchase price on the close of escrow and
 2   intended to develop the Property.
 3          10.       Following the close of escrow, Plaintiff began working with the City of Santa
 4   Maria to obtain the necessary permits to commence development of the Property.
 5          11.       In or about April 2016, the City of Santa Maria informed Plaintiff that his filing
 6   fees and application for a tentative map were being returned because the Property was
 7   contaminated with petroleum hydrocarbons from former oil field operations and absolutely no
 8   development was permissible on the Property unless and until all of the contaminated soil on
 9   the Property had been remediated.
10          12.       Defendant knew that the soil on the Property was contaminated with petroleum
11   hydrocarbons as early as 2006. In 2006, Defendant engaged Buena Resources, Inc. to prepare a
12   site investigation report for the Property which was completed by Buena Resources, Inc. and
13   delivered to Defendant and concluded that the soil on the Property had been contaminated with
14   petroleum hydrocarbons associated with former oil field operations.
15          13.       Defendant did nothing to clean up the contamination discovered by the 2006
16   Buena Resources, Inc. site investigation. Defendant did not disclose the Buena site
17   investigation report to Plaintiff prior to selling the Property to Plaintiff and did not disclose to
18   Plaintiff the fact that the soil on the Property was contaminated with petroleum hydrocarbons.
19          14.       Prior to the close of escrow, Defendant completed, signed, and delivered to
20   Plaintiff a California Association of Realtors form entitled “Seller Vacant Land Questionnaire.”
21          15.       Defendant stated on the Seller Vacant Land Questionnaire that he was not aware
22   of any contaminated soil on the Property and that he was not aware of any reports, inspections,
23   studies, or other documents pertaining to environmental conditions effecting the Property.
24          16.       These representations were false. The true facts were that the soil on the
25   Property was contaminated with petroleum hydrocarbons from prior oil field operations,
26   Defendant had in his possession the Buena Resources, Inc. site investigation report which
27   documented the contaminated soil, and Defendant knew the Property could not be developed in
28   any fashion until the soil contamination had been fully remediated.



                  COMPLAINT OBJECTING TO DISCHARGE PURSUANT TO 11 U.S.C. SECTION 523(a)(2) - 3
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 1          17.       Defendant suppressed his knowledge of the true facts and failed to disclose the
 2   true facts regarding the contamination of the Property.
 3          18.       When Defendant made the misrepresentations and non-disclosures, he knew
 4   them to be false, and these representations were made by Defendant with the intent to defraud,
 5   deceive, and induce Plaintiff to act in the manner herein alleged.
 6          19.       Plaintiff, at the time these representations and non-disclosures were made by
 7   Defendant, and at the time Plaintiff took the actions herein alleged, was ignorant of the falsity
 8   of Defendant’s representations and believed them to be true.
 9          20.       In reliance upon these representations, Plaintiff was induced to and did enter into
10   the contract to purchase the Property for $110,000. Had Plaintiff known the actual facts, he
11   would not have purchased the Property.
12          21.       As a proximate result of Defendant’s fraud and deceit as alleged above, Plaintiff
13   suffered general and consequential damages.
14          22.       On or about September 19, 2016, Plaintiff filed a fraud action against Defendant,
15   and others, in San Luis Obispo County Superior Court, Mario Melendez v. Don McHaney
16   Realty, Inc., Donald E. McHaney, Magic Property Management Inc., Case No. 16CV0433.
17          23.       On or about August 15, 2017, the San Luis Obispo County Superior Court
18   entered a Judgment against Defendant, and others, in favor of Plaintiff for intentional fraud. A
19   true and correct copy of the Judgment is attached hereto as Exhibit 1 and is incorporated herein
20   by reference as though fully set forth herein and made a part hereof.
21          24.       In the Judgment, the Superior Court specifically found that Defendant was
22   “liable for intentional fraud as alleged,” and awarded judgment in the amount of $627,514,
23   which included $500,000 in exemplary damages.
24                                                    IV
25                                     FIRST CLAIM FOR RELIEF
26                                 [Fraud – 11 U.S.C. Section 523(a)(2)]
27          25.       Plaintiff realleges and incorporates by reference each and every allegation
28   contained in Paragraph 1 through 24 as though fully set forth herein.



                  COMPLAINT OBJECTING TO DISCHARGE PURSUANT TO 11 U.S.C. SECTION 523(a)(2) - 4
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 1          26.       Defendant’s debt to Plaintiff in the amount of $627,514 is non-dischargeable
 2   pursuant to 11 U.S.C. Section 523(a)(2).
 3                                                    V
 4                                                PRAYER
 5          WHEREFORE, Plaintiff demands judgment against Defendant Donald Eugene
 6   McHaney as follows:
 7                    1.     For an order of this court determining that Plaintiff’s $627,514 claim
 8   against Defendant is non-dischargeable pursuant to 11 U.S.C. Section 523(a)(2);
 9                    2.     For costs of suit incurred herein; and
10                    3.     For such other and further relief as the court may deem just and proper.
11
12
13   Dated: April 8, 2020                                  ___________________________________
                                                           Edwin J. Rambuski
14                                                         Attorney for Plaintiff Mario Melendez
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                  COMPLAINT OBJECTING TO DISCHARGE PURSUANT TO 11 U.S.C. SECTION 523(a)(2) - 5
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             RECEIVED          8/15/2017 2:32 PM                              ‘                        FE L E D
             Saro G. Rizzo, Cal. Bar #162003
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                                CA 93401                                                                                            ocum
                                                                                               SAN   nggigf'o supamon                      '
                                                                                               By
                                                                                                       D.   0.9;“, 6363;: 016.11.

             Attorney for Plaintiff
             Mario Melendez
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                           COUNTY OF SAN LUIS OBISPO

                                                   '

             MARIO MELENDEZ                                                  Case No.: 16   CV 0433
                                                                                         ‘ H JUDGMENT
                             Plaintiff,
                    vs.

             DON McHANEY REALTY INC., DONALD                                 Action Filed: 9/ 19/201 6
             E. McHANEY, MAGIC PROPERTY                                      Dept-r 2
             MANAGEMENT INC., and DOES 1 through                             Judge: Hon. Barry LaBarbera
             100, inclusive,
                             Defendants.




        17          In this action plaintiff Mario Melendez ﬁled an action against defendants Don McHaney
        18   Realty, Inc., Donald E. McHaney, and Magic Property Management Inc. for intentional fraud.

        19   Defendants were served with the Complaint and First Amended Complaint and none                            of
        20   defendants ﬁled responsive pleadings to either               of them. On August   14, 2017, this matter came

        21   before this Court for Prove-Up hearing on plaintiff’s request for a default and default judgment

        22   against all defendants. Having considered the live testimony presented, oral argument, and other

        23
             papers and pleadings ﬁled, this Court ruled that sufﬁcient evidence exists to ﬁnd all defendants
                                                                                     '


        24
             liable for intentional fraud   as   alleged.

        25
                    Accordingly, IT IS HERBY ORDERED, ADJ UDGED AND DECREED that:
                     1.   Judgment is entered in favor of plaintiff against all defendants on his cause of action
        26

                          for intentional fraud.
        27
                    2.    Plaintiff is awarded damages in the amount of $1 16,500 against all defendants.
        28
                    3.    Plaintiff is awarded exemplary damages in the amount of $500,000 against all



                                                       [PROPOSED] JUDGMENT
EXHIBIT 1                                                     _   1
                                                                      _                                                                        6
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                            defendants.

                       4.   Plaintiff is awarded attomey’s      fees in the amount   of $9,695   and costs in the amount

                            of $1,319   against all defendants.

                       5.   Defendants        will be jointly and severally liable for all damages, attomey’s    fees, and

                            costs.

                                                                      Total Costs And Fees Awarded:         $ 627,514.00



              Dated:   August/       5, 2017
                                          ‘


                                                                                   By\                            ,




                                                                                   T                         a        ra,
                                                                                   Judge   of the Superior Court




        20


        21


        22


        23


        24


        25


        26

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        28




                                                      [PROPOSED] JUDGMENT
                                                                  _   2-                                                     7
EXHIBIT 1
